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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA TRAILER                             * MDL NO. 1873
       FORMALDEHYDE PRODUCTS                    *
       LIABILITY LITIGATION                     * SECTION “N” (5)
                                                *
                                                * JUDGE ENGELHARDT
                                                * MAGISTRATE CHASEZ
                                                *
THIS DOCUMENT IS RELATED TO:                    *
                                                *
Barker v. American International Group, et al., *
EDLA No. 09-6158                                *
* * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *

                 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL


       Plaintiff, William Barker, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), hereby gives notice

of his dismissal of claims without prejudice against Defendants Shaw Environmental, Inc., and

CH2M Hill Constructors, Inc., only. This dismissal does not affect his claims against the

remaining defendants.

                                     Respectfully submitted:
                                     GAINSBURGH, BENJAMIN, DAVID,
                                     MEUNIER & WARSHAUER, L.L.C.

                                     BY:    s/Gerald E. Meunier
                                            GERALD E. MEUNIER, #9471
                                            JUSTIN I. WOODS, #24713
                                            Gainsburgh, Benjamin, David, Meunier &
                                            Warshauer, L.L.C.
                                            2800 Energy Centre, 1100 Poydras Street
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                                            gmeunier@gainsben.com




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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 18, 2010, I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system which will send a notice of electronic filing to all counsel

of record who are CM/ECF participants. I further certify that I mailed the foregoing document

and the notice of electronic filing by first-class mail to all counsel of record who are non-

CM/ECF participants.

                                            s/Gerald E. Meunier
                                            GERALD E. MEUNIER, #9471




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